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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              WICHITA FALLS DIVISION


 FRANCISCAN ALLIANCE, INC., et al.,

                       Plaintiffs,

                v.                                       No. 7:16-cv-00108

 ALEX M. AZAR II, Secretary
 of Health and Human Services, et al.,

                       Defendants.


        DEFENDANTS’ RESPONSE TO RENEWED MOTION TO INTERVENE

       Defendants, through their undersigned counsel, hereby respond to the renewed Motion to

Intervene (Dkt. No. 130) filed by the ACLU of Texas and the River City Gender Alliance

(collectively, the “Proposed Intervenors”) as follows:

       Defendants do not oppose the Proposed Intervenors’ renewed Motion to Intervene.
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DATED: February 25, 2019

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                                  _____________________________________
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